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 DEFENDANT:            Andrew Sanchez

 YOB:                  1991

 COMPLAINT             ______ Yes      __X____ No
 FILED?
                       If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                        ________ Yes   _______ No
  If No, a new warrant is required

 OFFENSES:             Count 8: Conspiracy, 18 U.S.C. § 371


 LOCATION OF           Adams County, Colorado
 OFFENSE:

 PENALTY:              Conspiracy (Count 8): NMT five years imprisonment and/or NMT
                       $250,000 fine; NMT three years supervised release; $100 special
                       assessment

 AGENT:                Dana McKay, Dep’t of Education OIG
                       Charlie Beans, U.S. Secret Service

 AUTHORIZED
 BY:                   Daniel E. Burrows, Special Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:

 X five days or less          ____ over five days           ____ other

THE GOVERNMENT

      will seek detention in this case based on 18 U.S.C. § 3142(f)([1 or 2])
____X__ will not seek detention

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE:             Yes X No




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